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P|aintiff, W-D U.OF 't?-* z\_:f:MpHIS
vs. cR. No. 05-20160-B

PHILL|F’ STAFFORD,
Defendant.

 

A*|V|* E*N* D*E*D ORDER DENY|NG N|OT|ON TO SUPPRESS,
ORDER ON CONT|NUANCE AND SPEC|FYING PER|OD OF EXCLUDAB'LE DELAY

AND SETTlNG

 

This cause came on for a Hearing on the l\/lotion to Suppress, and the lVlotion to Revol<e
Detention Order (*) on May 25, 2005. After considering the testimony otwitnesses, the evidence
submitted, and statements of counsel, the court denied the motion to suppress and the motion
to revoke detention order, incorporating its factual findings and conclusions of law issued orally.
At that time, counsel for the defendant declared that the case was ready for Trial.

The Court hereby sets the trial date for the Criminal Rotation Docket beginning l\/londay,
June 6, 2005 at 9:30 a.m. noting the defendant’s request that Trial be set during the second
Week of the rotation, Courtroom to be designated, Federal Building, lvlemphis, Tennessee.

The period from |Vlay 4, 2005 through June 17, 2005 is excludable under 18 U.S.C. §
3161(h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time to prepare
outweigh the need for a speedy tria|.

lT lS SO ORDERED this ]‘R day of June,

  

 

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UNITED sTATE D"ISIC COURT - WESRNTE D's'TRCT 0 TESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 32 in
case 2:05-CR-20160 Was distributed by faX, mail, or direct printing on
June 10, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

